         Case 2:20-cv-00966-NR Document 137 Filed 07/20/20 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 DONALD J. TRUMP FOR PRESIDENT,                   )      CIVIL ACTION No. 2-20-cv-966
 INC.; et al.,                                    )
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        )
                                                  )
 KATHY BOOCKVAR, in her capacity as               )
 Secretary of the Commonwealth of                 )
 Pennsylvania; et al.,                            )
                                                  )
                Defendants.
                                                  )


                   MOTION TO INTERVENE AS DEFENDANTS BY
             CITIZENS FOR PENNSYLVANIA’S FUTURE AND SIERRA CLUB



       Pursuant to Fed. R. Civ. P. 24(a) and (b) of the Federal Rules of Civil Procedure, non-

parties Citizens for Pennsylvania’s Future (“PennFuture”) and Sierra Club (“Sierra Club”)

(collectively “Applicants”) move for leave to intervene in this action as Defendants in this Action.

In support of this Motion, Applicants incorporate by reference their Brief in Support of its Motion

to Intervene and the concurrently filed Declarations of Jacquelyn Bonomo and Jennifer Hensley.

Applicants further respectfully request leave to file a responsive pleading on the same schedule as

the current Defendants as set forth in the Court’s July 17, 2020 Scheduling Order, or within 3

business days of the Court’s order granting this motion, whichever is later. This Court has

discretion to grant this motion to intervene without the inclusion of a pleading where no prejudice

will result to the other parties. See, e.g., Amalgamated Transit Union, Local 1729 v. First Grp. Am.

Inc., 2016 WL 520989, at *1 (W.D. Pa. Feb. 10, 2016); U.S. ex rel. Frank M. Sheesley Co. v. St.

Paul Fire & Marine Ins. Co., 239 F.R.D. 404, 411 (W.D. Pa. 2006). Because this motion is being
         Case 2:20-cv-00966-NR Document 137 Filed 07/20/20 Page 2 of 3




made at the initial stages of the litigation, granting this motion will not delay or prejudice the

adjudication of any party’s rights as not all Defendants have filed a responsive pleading and this

motion and memorandum provide sufficient notice of the basis for intervention and relief that

PennFuture and Sierra Club will seek.


                                             Respectfully submitted,

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                                             and

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         Case 2:20-cv-00966-NR Document 137 Filed 07/20/20 Page 3 of 3




                               CERTIFICATE OF SERVICE

      I hereby certify that on this date, the foregoing Motion to Intervene, Proposed Order,

Memorandum in Support, and exhibits thereto were filed electronically and served on all counsel

of record via the ECF system of the U.S. District Court for the Western District of Pennsylvania.



Dated: July 20, 2020




                                                    Respectfully submitted,

                                             /s/ Charles A. Pascal, Jr.
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